                     UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                             3:18-cv-630-RJC

ACE MOTOR ACCEPTANCE                 )
CORPORATION,                         )
                                     )
            Plaintiff,               )
                                     )
      v.                             )
                                     )
                                     )
McCOY MOTORS, LLC et al.,            )
                                     )
            Defendants.              )
____________________________________ )

     ORDER WITHDRAWING ADVERSARY PROCEEDING AND FINDING
            PROBABLE CAUSE FOR CRIMINAL CONTEMPT

      THIS MATTER is before the Court on the Order of the Bankruptcy Court

Recommending Withdrawal of Reference of Adversary Proceeding No. 18-03036 for

Further Civil, and Potentially Criminal, Contempt Proceedings, (Doc. No. 1), and

the Supplemental Order, (Doc. No. 2). In these Orders, the United States

Bankruptcy Judge, recommends that this Court withdraw reference of this

adversary proceeding in its entirety pursuant to 28 U.S.C. § 157(d) to conduct

further civil and criminal contempt proceedings against Defendants—McCoy

Motors, LLC (“McCoy Motors”), Robert McCoy, Jr. (“McCoy”), and Misty McCoy.

      Civil and criminal contempt actions are distinguished on the basis of the

nature of the relief requested: (1) if the relief is remedial, coercive or compensatory,

the contempt is civil; (2) if the relief is punitive (which would be a sentence of

imprisonment for a definite period or a punitive monetary penalty in the case of a

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corporation), then the contempt is criminal. Hicks v. Feiock, 485 U.S. 624, 631–36

(1988); International Union, United Mine Workers of America v. Bagwell, 512 U.S.

821, 829 (1994). Unlike the standard for civil contempt which need only be shown by

“clear and convincing evidence,” criminal contempt must be shown ‘beyond a

reasonable doubt.” The Court of Appeals for the Fourth Circuit has held as follows:

             A court may impose sanctions for civil contempt “to coerce
      obedience to a court order or to compensate the complainant for losses
      sustained as a result of the contumacy.” In re General Motors Corp., 61
      F.3d 256, 258 (4th Cir. 1995) (internal quotation marks and citation
      omitted). Imposition of civil contempt sanctions requires fewer
      procedural protections than those necessary for the imposition of
      criminal contempt sanctions. See Bagwell, 512 U.S. 821, 830–31, 114 S.
      Ct. 2552. For example, unlike a finding of criminal contempt, which
      must rest on proof of guilt beyond a reasonable doubt, a finding of civil
      contempt can be established by “clear and convincing evidence.” See
      Ashcraft v. Conoco, Inc., 218 F.3d 288, 301 (4th Cir.2000); 11A Wright,
      Miller & Kane, Federal Practice and Procedure § 2960, at 380 (2d ed.
      1995). Similarly, because they are civil, not criminal, proceedings, the
      right to counsel is not guaranteed in civil contempt proceedings.

Cromer v. Kraft Foods North America, Inc., 390 F.3d 812, 821 (4th Cir. 2004).

      The Court has considered the Orders by the Bankruptcy Judge, reviewed the

record and docket in the Bankruptcy Court, and determined that probable cause

exists to prosecute ROBERT McCOY, Jr. and MISTY McCOY for criminal contempt.

In accordance with Rule 42(a)(2), Federal Rules of Criminal Procedure, the Court will

request that the United States Attorney for the Western District of North Carolina

prosecute such criminal contempt.

      Having considered the Bankruptcy Court’s Order Finding Certain Defendants

in Civil Contempt, (Doc. No. 1-1), and Orders Recommending Withdrawal of

Reference, (Doc. Nos. 1–2), the Court enters the following Order.

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IT IS, THEREFORE, ORDERED that

     (1)   The Orders of the Bankruptcy Court Recommending Withdrawal

           of Reference, (Doc. Nos. 1–2), are GRANTED.             Specifically,

           Adversary Proceeding No. 18-03036 should be withdrawn from

           the Bankruptcy Court to the Western District of North Carolina;

     (2)   The UNITED STATES ATTORNEY for the Western District of

           North Carolina is requested, in accordance with Rule 42(a)(2), to

           prosecute this matter, and, if he declines to do so, to so advise the

           Court not later than February 25, 2019;

     (3)   Separate and apart from prosecuting the criminal contempt

           under Rule 42(a)(2), the UNITED STATES ATTORNEY for the

           Western District of North Carolina is further requested to

           conduct a CRIMINAL INVESTIGATION into the allegedly

           fraudulent and perjurious conduct of Robert McCoy Jr. and Misty

           McCoy.

     (4)   NOTICE is hereby given to Robert McCoy Jr. and Misty McCoy

           as follows:

              A charge of Criminal Contempt has been lodged
              against you as provided herein and for the reasons
              outlined in Judge Whitley’s Orders; such matter will
              be tried on March 18, 2019, at 9:30 a.m., in the
              United States Courthouse, Charlotte, N.C. You have
              a right to be represented by counsel and if you
              cannot afford counsel the Court will appoint counsel
              and you have until such date to prepare a defense.
              You are advised that the essential facts constituting
              such criminal contempt are contained in the Order

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                of the Bankruptcy Court Finding Certain
                Defendants in Civil Contempt, (Doc. No. 1-1), and
                the Order and Supplemental Order Recommending
                Withdrawal of Reference, (Doc. Nos. 1–2),
                documents which accompany this Order. Finally, if
                you fail to appear as instructed, a warrant will issue
                for your arrest.

      The Clerk of Court is instructed to issue a Summons compelling the

      attendance of Robert McCoy Jr. and Misty McCoy at trial on March 18, 2019,

      at 9:30 a.m.; a warrant for the arrest of Robert McCoy Jr. on the criminal

      contempt charge; and a summons for Misty McCoy on the same charge; and

      make a copy of this Order and Judge Whitley’s Orders for service by the

      United States Marshal. The United States Marshal shall serve a copy of the

      Summons, the Warrant, this Order, and Judge Whitley’s Orders, (Doc. Nos.

      1, 1-1, and 2) on:

             ROBERT McCOY Jr.
             3606 Highway 51
             Fort Mill, SC 29715

             MISTY McCOY
             11915 John K Hall Way
             Charlotte, NC 28277

      The Clerk of Court shall send a copy of this Order to counsel of record, the

Clerk of the Bankruptcy Court, and to:

      THE HONORABLE R. ANDREW MURRAY, Esq.
      United States Attorney for the Western District of North Carolina


                                      Signed: February 5, 2019




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